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UNITED STATES DISTRICT COURT

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1339-10430

EASTERN DISTRICT OF LOUISIANA

SHADOWTRACK TECHNOLOGIES, INC. * U 4A ™ 0 6 L %

Plaintiff * CIVIL ACTION NO.

SECT. | MAG.

VERSUS *

SAEID SAJJAD, * SECTION
DEERECO HOLDING, LLC,

LUMENEX, INC., and *

SOFT TECHNOLOGY, INC.

Defendants

COMPLAINT FOR DAMAGES
Plaintiff, SnadowTrack Technologies, Inc. (hereinafter “ShadowTrack”) brings this
diversity action for breach of contract and breach of fiduciary duty. Plaintiff and defendants,
Saeid Sajjad, Deereco Holding, LLC, Lumenex, Inc., and Soft Technology, Inc. (hereinafter
collectively, the “Sajjad Companies”) entered into a contract pursuant to which
ShadowTrack paid the Sajjad Companies $100,000 to develop software to

ShadowTrack's specifications. Although the Sajjad Companies agreed not to develop or

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Process

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market competing software, ShadowTrack has learned that the Sajjad Companies in fact
have developed and are marketing competing software. In doing so, the Sajjad
Companies have breached the contract and breached a fiduciary duty by usurping
ShadowTrack's corporate opportunities. ShadowTrack also seeks to enjoin the Sajjad
Companies from developing and marketing the competing software because this conduct
will cause ShadowTrack immediate and irreparable competitive harm.

Parties

1. Plaintiff, ShadowTrack Technologies, Inc., is a corporation organized under the laws
of the State of Louisiana with a principle place of business in Covington, Louisiana.

2. Defendant, Saeid Sajjad, is a citizen and domiciliary of the State of Maryland.
Defendant, Saeid Sajjad, is the sole member of defendant, Deereco Holding, LLC, and is
Vice President of defendant, Lumenex, Inc. It is further believed that he owns and controls
defendant, Soft Technology, Inc., and has been clothed with the apparent authority to act in
their behalf.

3. Defendant, Deereco Holding, LLC, is a limited liability company organized under
the laws of the State of Maryland with a principle place of business in Timonium, Maryland.

4. Defendant, Lumenex, Inc., is a corporation organized under the laws of the State
of Maryland with a principle place of business in Timonium, Maryland.

5. Defendant, Soft Technology, Inc., is a corporation organized under the laws of the

state of Maryland with a principle place of business in Timonium, Maryland.

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Jurisdiction and Venue

6. The citizenship of the parties is diverse because plaintiff, SnadowTrack, is a
resident and citizen of the State of Louisiana, and each defendant is a resident and citizen
of the State of Maryland. The amount in controversy exceeds $75,000.00. This Court,
therefore, has subject matter jurisdiction pursuant to 28 U.S.C. §1332.

7. This Court has personal jurisdiction over the defendants pursuant to LSA-
R.S. §§3201(A)(2) and 3201(B) because they contracted to and did supply services in the
State of Louisiana. This dispute arises out of that conduct.

8. Venue is proper in this District, pursuant to 28 U.S.C. § 1391(a)(2), because

ShadowTrack is located in this District, and defendants agreed to and did supply services

in this District pursuant to the contract.

Background
A. The Original Software Application
9. ShadowTrack is a business that offers services to courts, sheriffs,
departments of corrections, and other similar entities to monitor people in home
confinement programs. ShadowTrack offers these services to monitor the whereabouts of
individuals. SnadowTrack conceived of this innovative business concept and hired the
Sajjad Companies to develop software to place into effect the innovative business

concept.
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10. | ShadowTrack's business monitors an individuals whereabouts by using
telephony and voice biometric technology. The individual registers with the program by
providing a sample of his or her voice, which is turned into a digital file. ShadowTrack then
randomly generates telephone calls to the individual at his or her home (or other court-
approved location) and he/she must respond to a series of questions. ShadowTrack then
matches both the content of the answers and the unique voiceprint to the individual's
registration samples in order to confirm that the individual is at the court-approved location.
The ShadowTrack service also requires an individual to place calls to a monitoring
telephone number, where the person's voiceprint and location are matched with the
registration data to confirm that the individual is in a court-approved location. Thus,
ShadowTrack has developed a highly innovative and cost-efficient computerized
mechanism to use telephones to monitor compliance with home confinement orders.

11. | ShadowTrack and defendant, Sajjad, acting for defendants, Lumenex, Soft
Technology, and Deereco Holding, entered into a confidential, fiduciary relationship
regarding the ShadowTrack home confinement monitoring system. ShadowTrack shared
its innovative monitoring concept with the Sajjad Companies and entrusted them with
proprietary, private business plans, secrets, and concepts relating to the ShadowTrack
application software with the understanding that they would use the information to develop
the software to implement ShadowTrack's concept. That agreement remains in full force

and effect as its duration of three years begins anew with each confidential disclosure.

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12. Onor about June 29, 2001, ShadowTrack and, defendant Lumenex, Inc.,
entered into a contract in which Lumenex agreed to develop software according to
ShadowTrack's specifications and including features delineated by ShadowTrack
necessary to implement ShadowTrack's home confinement monitoring service.
ShadowTrack paid its initial deposit for the software. On or about July 4, 2001,
ShadowTrack paid the balance due under this agreement.

13. Onor about August 29, 2001, ShadowTrack and defendant, Lumenex,
entered into a Development Plan Modification Agreement where ShadowTrack identified
additional necessary features for the software, and Lumenex charged an additional fee for
those features. On or about August 30, 2001, ShadowTrack paid Lumenex $13,700.00 for
the agreed modifications.

14. Onor about September 23, 2001, ShadowTrack and Lumenex entered into
a server hosting and co-location agreement. For a fee, Lumenex agreed to host and
maintain the servers owned by ShadowTrack and necessary to run the ShadowTrack
application software and to perform data backup services.

15. Onor about October 2, 2001, Robert Magaletta, president of ShadowTrack,
acknowledged receipt of the original application software.

16. Onor about October 9, 2001, ShadowTrack enrolled the first offender on its
application software for monitoring service in Louisiana.

B. The New Software Application
17. During November and December 2001, ShadowTrack, through its usage of the

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application software, discovered that the original application software had numerous
software issues and did not perform to expectations while monitoring “live” accounts.
Through the use of the application software several improvements that would be necessary
to improve performance and enhance the capabilities of the application software were
discovered. ShadowTrack and defendant, Saeid Sajjad, began discussions for
development of a new generation of software (hereinafter the “New Application Software”)
so that it would work properly as expected and to improve and enhance the original
application software.

18. Onor about March 13, 2002, ShadowTrack and Sajjad signed a Memorandum of
Understanding (“MOU”), attached hereto as Exhibit A, delineating their intentions and
agreement relating to developing the New Application Software for the ShadowTrack
service. Although the MOU stated that it was not a final development and licensing
agreement, the MOU says it reflects the intentions of the parties through specific Terms of
Understanding between ShadowtTrack, Sajjad, and the Sajjad Companies.

19. The MOU recited that Soft Technology, Inc. is owned and controlled by Sajjad and
had developed the ShadowTrack software product under the June 29, 2001 agreement
between plaintiff and Lumenex. The MOU identified the intentions of the parties to develop
the New Application Software. This time, Deereco Holdings was to develop the software.

20. Under the MOU, ShadowTrack agreed to pay Deereco $100,000.00 for
developing the New Application Software, which accommodated the changes from the

original software as described in an attached scope of work. At defendants’ insistence,

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ShadowTrack paid $100,000 to the Sajjad Companies on or about March 13, 2002.
21. Under the MOU, ShadowTrack agreed to allow Deereco to appoint a director to
ShadowTrack's Board of Directors and to give defendants a 14% equity interest in plaintiff.
22. Paragraph 3(2) of the MOU states that Sajjad and the Sajjad Companies
agreed:

[T]hat they will not develop, license, sell, or provide software similar to or
competitive with the New Application Software for any persons or
organizations, except to the limited extent permitted below.

(a) The Sajjad Companies may develop, license, sell, or
provide software similar to or competitive with the New
Application Software to federal, state, local, and foreign
governmental agencies, for their own use within their own
jurisdictional boundaries. Such governmental agencies
shall not be granted the right to sell or resell such software,
or to produce copies of such software for sale or licensing
to others.

(b) The Sajjad Companies may develop, license, sell, or
provide software similar to or competitive with the New
Application Software to the private companies identified
on Exhibit A attached hereto. Each of the companies
identified on Exhibit A (the "Listed Companies") is
presently, or will become imminently, the holder of a
contractual right to require the Sajjad Companies to
develop, license, sell or provide such software. The Listed
Companies will not be restricted in their use of any
software developed, licensed, sold or provided by the
Sajjad Companies.

(c) Before any Sajjad Company develops, licenses, sells
or provides any software similar to or competitive with the
New Application Software under paragraphs (a) or (b)
above, Deereco shall notify ShadowTrack of such pending
transaction.
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23. |The Listed Companies are: Toshiba America Information Systems; Toshiba
America Information Systems Authorized Dealers; Tadiran and Tadiran Authorized
Dealers; Sprint (Sprint Products Group) and Sprint Authorized Dealers; KEI Pearson (all
offices); and Norstan (all offices).

24. The MOU also states that the parties intended that the New Application
Software would be housed on servers located at AT&T in Ashburn, Virginia, or another
commercial hosting location. Indeed, on or about March 6, 2002, ShadowTrack, Sajjad,
and AT&T held a conference call to discuss a hosting agreement where the servers
running the New Application Software would be housed at AT&T.

25. On or about April 24, 2002, ShadowTrack and AT&T signed a server hosting
agreement, with the intentions of moving the ShadowTrack equipment to the AT&T data
center for housing. On or about September 6, 2002, Robert Magaletta and Saeid Sajjad
agreed to a schedule the move of the ShadowTrack equipment on November 6, 2002. On
or about October 1, 2002, Saeid Sajjad disallowed the move of the ShaodwTrack
equipment. Saeid Sajjad would not allow the release of the ShadowTrack equipment
without a signed agreement that would eliminate the MOU.

C. The Defendants Breached the Agreement
26. Onor about March 13, 2002, ShadowTrack mailed Deereco a check for

$100,000.00, as required by the MOU.
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27. Onor about May 28, 2002, Deereco deployed the New Application
Software. The New Application Software, however, does not comply with the entire scope
of work outlining the necessary features for the software, and has not been expanded as
requested by ShadowTrack to include certain new applications.

28. Subsequent to the execution of the MOU, plaintiff continually provided
confidential information gained only by the use of the application software to Saeid Sajjad
and his companies, and was assured that the New Application Software would be further
modified to accommodate a GPS/cell phone application disclosed in confidence to Saeid
Sajjad. The MOU having been executed on March 8, 2002 and the disclosure having
occurred thereafter, the efficacy of the Confidentiality Agreement began on or after March
27, 2001, and remains in effect for three (3) years from that date. A copy of the
Confidentiality Agreement is attached hereto and marked as Exhibit B.

29. The Sajjad Companies have failed to comply with Paragraph 3 of the MOU
in three material respects. First, and without the required disclosure to plaintiff, they
negotiated to license, sell or provide ShadowTrack software to Unisys without
ShadowTrack's approval. Second, they have developed and are marketing a competing
software application called Phantom Tracker, and third, upon information and belief, Saeid
Sajjad or others acting in his behalf, has developed the software for GPS/cell phone
tracking, but is not providing it to plaintiff, as required by the MOU and verbal agreement.

Instead, Sajjad, his companies or others acting in his behalf, are independently marketing
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this and similar software under the trade or corporate name, XBiometrics in direct
competition with ShadowTrack and contrary to the provisions of the MOU.

30. Beginning on or about April 24, 2002, and continuing through the spring and
summer of 2002, Sajjad, on behalf of the other defendants, negotiated with Unisys to
develop, license, sell, or provide the ShadowTrack software or software similar to the
ShadowTrack New Application Software for use in the State of New York's probation and
corrections department. Unisys is not one of the approved Listed Companies on Exhibit A
to the MOU, which is attached to that document. Unisys would use the ShadowTrack
concepts to equip and market a competing monitoring service for state and federal
agencies, directly competing with ShadowTrack. Unisys would also use the ShadowTrack
concepts to use voice identification software in other industries, using ShadowTrack's
corporate opportunities. ShadowTrack has not authorized Sajjad to engage in those
negotiations. Therefore, Sajjad breached the agreement, which he and his companies
entered with plaintiff, memorialized in paragraph 3(b) of the MOU, when he marketed the
software to Unisys.

31. On information and belief, Sajjad has continued to negotiate with Unisys and
may be close to finalizing a deal between Lumenex and Unisys whereby Unisys would
have access to the ShadowTrack application software or competing software for operating
its own monitoring business.

32. Also in violation of Section 3 of the MOU, the Sajjad Companies developed

a competing software application called Phantom Tracker in the spring of 2002. On

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information and belief, Phantom Tracker uses the concept developed by ShadowTrack to
monitor individuals with computers calling persons at approved locations and confirming
their identity with voice print identification technology. On information and belief, Phantom
Tracker incorporates the features and a modification SnadowTrack identified as
necessary for ShadowTrack, and even uses software from ShadowTrack that was
developed at ShadowTrack's expense. On information and belief, the Sajjad Companies
have marketed Phantom Tracker, using materials developed at ShadowTrack's expense
and with invaluable feedback and direction provided with consistent use of the application
software. Thus, the Sajjad Companies are using ShadowTrack's concept and software
developed at ShadowTrack's expense to compete with ShadowTrack.

33. | ShadowTrack learned that the Sajjad Companies were developing a product
called Phantom Tracker. During a visit to the Lumenex offices to view the housing of the
ShadowTrack server, John Ferrara, Executive Vice President, saw a disc resting ina
stack on the ShadowTrack shelving with the handwritten word Phantom Track. When
Robert Magaletta, president of ShadowTrack, asked Sajjad about that product in the
presence of John Ferrara, the executive vice president of ShadowTrack, Sajjad stated that
Phantom Tracker was just a code name used within the office for fixes to identified
software issues that would be made to the ShadowTrack New Application Software.

34. Later, Sajjad retreated from the position that Phantom Tracker was just a

code name. He later stated that Phantom Tracker was a name used in his office for

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upgrades and features for implementation in the family of products owned by the Sajjad
Companies.

35. | ShadowTrack then learned that Phantom Tracker instead was an entire
software package consistent to the New Application Software and enhanced with the
features that were discussed in confidentiality between Robert Magaletta and Saeid
Sajjad that, upon information and belief, the Sajjad Companies developed using
ShadowTrack Concepts to compete with ShadowTrack.

36. | ShadowTrack informed Sajjad that the ShadowTrack New Application
software requires certain updates to conform to the scope of work. Sajjad has refused to
implement those updates, but, on information and belief, Sajjad has incorporated the new
concepts and updates developed by ShadowTrack into its competing Phantom Tracker
and/or XBiometrics software.

37. | Inconcert with other persons and organizations, Sajjad and Lumenex have
marketed the Phantom Tracker and/or Xbiometrics software as a competitor to
ShadowTrack. Sajjad has created press releases advocating Phantom Tracker and/or
XBiometrics. During the production of the New Application Software, ShadowTrack’s
president, Robert Magaletta, advised Saeid Sajjad that soon there would be existing
technology, together with his innovations which could be employed to use a GPS together
with a cellular phone so that the voice of the party answering the cell phone could be
considered along with the content of his answers and also his location, which would be a

sensational expansion of the innovation developed by ShadowTrack. He requested that he

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undertake to develop the necessary software or software changes to implement this new
change to the package. The Sajjad Companies, upon information and belief, have in fact
developed the software needed to perform this function, but instead of providing it to
ShadowTrack, it is being used to promote similar software under the trade name or
corporate name XBiometrics, in direct competition with SnhadowTrack and in violation of
the terms of the MOU. This knowledge only came to ShadowTrack’s attention on or about
February 14, 2004.

38. |ShadowTrack paid Saeid Sajjad to develop a White Paper Report. The
XBiometrics website contains wording exact and similar to the White Paper Report paid
for by ShadowTrack for product marketing of the ShadowTrack application software.

38. Onor about September 23, 2002, Sajjad repudiated the MOU in an
attachment to an email he sent to ShadowTrack. In that correspondence, Sajjad stated that
he wants his companies to be able to compete with ShadowTrack, contrary to the express
terms of the MOU.

COUNT |
Breach of Contract (MOU)

39. ShadowTrack re-alleges Paragraphs 1 through 38 of the Complaint as if fully
set forth herein.

40. ShadowTrack and Sajjad, who was acting as the agent for Lumenex,

Deereco Holding, and Soft Technology, entered into an agreement, memorialized in the

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March 13, 2002 MOU, whereby defendants would not develop, license, sell, or provide any
software similar to or competitive with the ShadowTrack New Application Software. The
parties intended to be bound and exchanged mutual consideration for this promise.

41. The Sajjad Companies, however, have developed Phantom Tracker and/or
XBiometrics, which are similar software that competes with the ShadowTrack New
Application Software, and has begun marketing that software.

42. Sajjad has negotiated to sell the competing software to Unisys in violation of
the express terms of the MOU.

43. | This conduct materially breaches an essential term of the agreement
between the parties and has damaged ShadowTrack.

COUNT Il
Unjust Enrichment (La. Civ. Code art. 2298)

48. ShadowTrack repeats and re-alleges paragraphs 1 through 38 of the
Complaint as though fully set forth herein.

49. By developing and marketing competing software and by marketing the
ShadowTrack New Application Software without authorization, the Sajjad Companies have
enriched themselves at plaintiffs expense. The Sajjad Companies have used
ShadowTrack's concepts and software that ShadowTrack paid for, enriching themselves

and causing a corresponding impoverishment for ShadowTrack.

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50. The Sajjad Companies lacked any justification or cause for developing and
marketing the competing software and marketing the ShadowTrack New Application
Software.

COUNT IIl
Breach of Fiduciary Duty

51. | ShadowTrack repeats and re-alleges paragraphs 1 through 38 of this
Complaint as though fully set forth herein.

52. The Sajjad Companies owe ShadowTrack a fiduciary duty because
ShadowTrack entrusted them with secret, proprietary business information, plans, and
ideas regarding the ShadowTrack application software so that the Sajjad Companies
could develop software to implement ShadowTrack’'s concepts. In addition, pursuant to a
contractual provision in the MOU, ShadowTrack agreed to grant Deereco a seat on its
Board of Directors and agreed to grant Deereco shares of ShadowTrack stock.

53. | The Sajjad Companies breached the MOU with ShadowTrack regarding
their development of a competing software application and regarding the marketing of
ShadowTrack application software to other disallowed entities and without notification to
ShadowTrack as is outlined in the MOU.

54. When the Sajjad Companies developed the Phantom Tracker software
application and marketed ShadowTrack’s application software to Unisys without

authorization, they breached the trust SnadowTrack had placed in them. By developing

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Phantom Tracker and engaging in unauthorized negotiations with Unisys, the Sajjad
Companies used ShadowTrack's secret, proprietary information for their own personal
gain to ShadowTrack's detriment. They used ShadowTrack's concept and software that
ShadowTrack paid for.

55. The Sajjad Companies breached their fiduciary duty to SnadowTrack by
usurping a corporate opportunity of ShadowTrack.

56. ShadowtTrack is entitled to all profits the Sajjad Companies earn as a result
of breaching this fiduciary duty and usurping this corporate opportunity. All such profits
should be placed in a constructive trust for the benefit of ShadowTrack.

Jury Demand
Plaintiff hereby requests that the claims be tried to a jury.
Prayer For Relief

WHEREFORE, plaintiff requests that the Court:

A. Order specific performance of the MOU and server hosting agreement;

B. Permanently enjoin the Sajjad Companies from developing and marketing

competing software in breach of the contract;

C. Enter judgment for ShadowTrack and award damages to ShadowTrack;

D. Create a constructive trust for ShadowTrack's benefit of any proceeds the

Sajjad Companies have received from developing and marketing competing

software;

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E. Award ShadowtTrack the costs of this action;
F. Grant such other or additional relief as is just and proper; and
G. For trial by jury on ail issues.

Res

 

 

TEPHEN A. MOGARGAS (69228)
Sree D. MARLOWY#20282)
LAURIE M. PENNISON (#27275)
HULSE & WANEK
512 E. BOSTON STREET
COVINGTON LA 70433

Telephone: (985) 892-5953
Facsimile: (985) 893-2932

PLEASE SERVE:

DEERECO HOLDING, LLC,

through its agent for service of process:
Jesse D. Delanoy

Suite 200

8 Park Center Court

Owings Mills, MD 21117

XBIOMETRICS, INC.,

through its agent for service of process:
Kim Mink

201 W. Padonia Road

Timonium, MD 21093-2112

SOFT TECHNOLOGY, INC.,

through its agent for service of process:
Saeid Sajjad

201 W. Padonia Road

Timonium, MD 21093-2112

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SAEID SAJJAD,
Individually at:

201 W. Padonia Road
Timonium, MD 21093-2112

LUMENEX, INC.,

through its agent for service of process:
Masoud Sajjad

201 W. Padonia Road

Timonium, MD 21093-2112

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VERIFICATION

STATE OF LOUISIANA

PARISH OF ST. TAMMANY

BEFORE ME, the undersigned authority, personally came and appeared:
ROBERT MAGALETTA
who after being duly sworn, did depose and say that the facts in the above and foregoing
Complaint for Damages are true and correct to the best of his knowledge, information and

belief.

 

 

RMI
ROB RY/MAGALETJA

SWORN TO,AND SUBSCRIBED before
me this 7." \ day of Margh, 2004.

v

Y NOTARY PUY

 

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SEE RECORD FOR

EXHIBITS

OR

ATTACHMENTS

NOT SCANNED
